       Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 1 of 32




                    IN UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP,

                        Plaintiff,

      v.                                     Civil Action No. 1:21-cv-2769 (TSC)

BENNIE G. THOMPSON, et al.,

                        Defendants.




BRIEF OF FORMER MEMBERS OF CONGRESS AS AMICI CURIAE IN OPPOSITION
         TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
             Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 2 of 32




                                                   TABLE OF CONTENTS

                                                                                                                                     Page

INTEREST OF AMICI CURIAE ....................................................................................................1

INTRODUCTION ...........................................................................................................................1

ARGUMENT ...................................................................................................................................5

I.        THE SELECT COMMITTEE’S POWER TO INVESTIGATE THE JANUARY
          6TH INSURRECTION ARISES FROM CONGRESS’S LEGISLATIVE
          AUTHORITY OVER, AMONG OTHER THINGS, FEDERAL ELECTIONS,
          TRANSITIONS OF PRESIDENTIAL POWER, FEDERAL PROPERTY, AND
          INSURRECTIONS. .............................................................................................................5

          A.         Congress Has Broad Constitutional Powers To Pass Legislation To Ensure
                     the Peaceful and Lawful Transfer of Presidential Power.........................................6

          B.         Congress Has A Compelling Need to Engage In A Thorough and Complete
                     Investigation of Mr. Trump’s Attempts To Interfere With the Peaceful
                     Transfer of Power So That It Can Exercise Its Legislative Powers. ......................10

II.       THE CLEAR NEED FOR, AND PUBLIC INTEREST IN, THE SELECT
          COMMITTEE’S ACCESS TO THE MATERIALS IT SEEKS IS
          DETERMINATIVE OF THE PRESENT MOTION. ........................................................17

CONCLUSION ..............................................................................................................................20

APPENDIX A—LIST OF AMICI CURIAE

CERTIFICATE OF SERVICE




                                                                     i
             Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 3 of 32




                                                TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

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   290 U.S. 534 (1934) ...................................................................................................................8

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Constitutional Provisions

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                                                                     ii
             Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 4 of 32




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   § 1, cl. 2 ..............................................................................................................................18, 19
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   § 2, cl. 2 ......................................................................................................................................7

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U.S. Const. amend. XII ........................................................................................................6, 18, 19

U.S. Const. amend. XIV
   § 3...........................................................................................................................................7, 8
   § 5...............................................................................................................................................7

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   § 1...............................................................................................................................................9
   §§ 1–18.....................................................................................................................................19
   § 7...............................................................................................................................................9
   § 15.......................................................................................................................................9, 14
   § 102 note (1989) .......................................................................................................................9

5 U.S.C.
   § 2302.........................................................................................................................................9
   §§ 3345–3349d...........................................................................................................................9
   §§ 7321–26.................................................................................................................................9

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   § 115...........................................................................................................................................9
   § 201...........................................................................................................................................9
   § 1361.........................................................................................................................................9
   § 1385.........................................................................................................................................9
   §§ 3056–3056A..........................................................................................................................9

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                                                                         iii
             Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 5 of 32




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   § 3(1) ..........................................................................................................................................5
   § 4...............................................................................................................................................5
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                                                                         iv
            Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 6 of 32




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                                                                   v
             Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 7 of 32




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                                                                     vi
           Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 8 of 32




                                INTEREST OF AMICI CURIAE1

         Amici are former members of Congress. They submit this brief in support of Defendants

to explain why an armed attack on the United States Capitol that disrupted the peaceful transfer of

presidential power—and not the document requests necessary to investigate it—is the only grave

threat to the Constitution before the Court, and why a congressional investigation and remedial

legislation are plainly warranted to protect the Constitution from future assaults on the peaceful

transfer of power. Amici urge the Court to deny the request for a preliminary injunction so that

the Select Committee to Investigate the January 6th Attack on the United States Capitol

(hereinafter, the “Select Committee”) can obtain the information it needs to do its work.

                                        INTRODUCTION

         Unfolding like a fever dream in James Madison’s restless imagination, Donald Trump’s

actions leading up to and on January 6th, 2021, tested our constitutional system in ways that no

prior occupant of the Office of President of the United States ever had. Some of those actions,

such as his attempts to install acting officials that had “no other merit than that of . . . possessing

the necessary insignificance and pliancy to render them the obsequious instruments of his

pleasure,”2 relied on his abuse of core presidential powers. Others, such as his efforts, as described

by Senate Minority Leader Mitch McConnell, to “engineer the campaign of disinformation and

rage that” resulted in the storming of the Capitol, which he then “watched . . . happily” on television

as “Vice President Pence was in danger” and “the mob carrying Trump banners was beating cops




1
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4), as incorporated by this Court’s Local
Civil Rule 5.4(o)(5), undersigned counsel states that no party’s counsel authored this brief in whole
or in part. Nor did any party or party’s counsel, or any other person other than amici curiae or
their counsel, contribute money that was intended to fund preparing or submitting this brief.
2
    The Federalist No. 76 (Alexander Hamilton).


                                                  1
         Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 9 of 32




and breaching perimeters,”3 involved actions taken in his private capacity as a failed candidate for

reelection. Taken together, Mr. Trump’s public and private actions—some of which are now

known, but others of which surely remain unknown—came far closer to blocking a peaceful

transfer of power and imperiling the lives of Senators, Representatives, and the Vice President of

the United States than amici, with their over 850 combined years of congressional service, could

have ever imagined.

       That state of affairs is untenable for American democracy. In a country built on the idea

that the government can only derive its “just powers from the consent of the governed,” The

Declaration of Independence pmbl. (U.S. 1776), the success of our democracy depends on a

peaceful transfer of presidential power following a free and fair election. Thankfully, Congress

has broad legislative powers grounded in multiple constitutional clauses to enact legislation to

respond to the heretofore unimagined vulnerabilities in our constitutional system illustrated by last

winter’s events. It also has the investigative tools, including those at issue in this litigation, to

gather the information necessary to identify gaps in the guardrails of our democracy and tailor

legislation to address current and future threats. But as our country remains at risk of “its greatest

political and constitutional crisis since the Civil War, with a reasonable chance over the next three

to four years of incidents of mass violence” and a “breakdown of federal authority,”4 it is vital that

Congress have the ability to exercise those constitutional authorities now before the lives of

Senators, Representatives, and the Vice President of the United States—along with their staffs and



3
  Press Release, McConnell on Impeachment: “Disgraceful Dereliction” Cannot Lead Senate to
“Defy Our Own Constitutional Guardrails,” (Feb. 13, 2021), https://www.republicanleader.
senate.gov/newsroom/remarks/mcconnell-on-impeachment-disgraceful-dereliction-cannot-lead-
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4
 Robert Kagan, Opinion: Our Constitutional Crisis Is Already Here, Wash. Post, Sept. 23, 2021,
https://www.washingtonpost.com/opinions/2021/09/23/robert-kagan-constitutional-crisis/.

                                                  2
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 10 of 32




the law enforcement officers charged with protecting the Capitol and its inhabitants—are ever

again threatened or the peaceful transfer of power is again imperiled.

       In seeking to enjoin the Select Committee from obtaining presidential records from the

National Archives and Records Administration (“NARA”), Mr. Trump relies heavily on the

proposition that Congress does not need those records to further any legislation. This assertion is

dubious given the range of vulnerabilities exposed on January 6th that Congress must now remedy,

and it is wholly inapt where Mr. Trump personally orchestrated the assault on our democracy.

When Congress seeks to legislate against “known unknowns,” it can usually rely on broad

“catchalls” to shore up legislation, Republic of Iraq v. Beaty, 556 U.S. 848, 860 (2009), and

Congress generally may not look to presidential records as a “case study for general legislation,”

Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2036 (2020) (internal quotation marks omitted). The

once unimaginable problem here, of course, is that a sitting president and his aides personally

orchestrated a multifaceted assault on the peaceful transition of presidential power, and neither

Congress nor the public more broadly yet knows the full range of means deployed or considered

and discarded. Just this week, explosive reporting again placed Mr. Trump, his Chief of Staff

Mark Meadows, several Members of Congress, and Trump allies with ties to white nationalists at

the very center of the plot to disrupt the election’s certification and suggested that many involved

were led to believe the former President would pardon them for crimes committed in the process.5

The anonymous sources in this reporting may, of course, be self-interested or even untruthful. But

the Select Committee—and the American people—should not have to rely on Rolling Stone to do




5
 See Hunter Walker, Jan. 6 Protest Organizers Say They Participated in “Dozens” of Planning
Meetings With Members of Congress and White House Staff, Rolling Stone, Oct. 25, 2021,
https://www.rollingstone.com/politics/politics-news/exclusive-jan-6-organizers-met-congress-
white-house-1245289/.

                                                 3
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 11 of 32




the fact-checking when these facts, and likely many more, lie in the records the Select Committee

now seeks.

       From what is publicly known, it is clear that (1) Mr. Trump played an outsized—and likely

central—role in orchestrating the events that led to the January 6th attack; and (2) the various

means he used or contemplated are likely documented in the records the Committee seeks and are

still not known. If traitors bent on disrupting and damaging our government were to meticulously

plan and nearly succeed in flying a jumbo jet into the White House, we would not expect Congress

to implement stronger safeguards without the opportunity to investigate the attackers. And we

certainly would not expect Congress to sit on its hands when it comes to such an important matter

of national security. Indeed, Congress thoroughly investigated the 9/11 attacks, including the

actions of senior administration officials and the organization of the attacks, precisely to identify

key vulnerabilities and recommend reforms. See Joint Inquiry Into the Terrorist Attacks of

September 11, 2001, S. Rep. No. 107-351, H.R. Rep. No. 107-792 (2002). Congress’s power to

do so here is not reduced—and is likely elevated—where the targets of the investigation include a

former President and sitting Members of Congress. Congress cannot be left “shooting in the dark,

unable to legislate wisely or effectively,” Mazars, 140 S. Ct. at 2031 (internal quotation marks

omitted), guessing at “unknown unknowns,” when our very democracy hangs in the balance.

Under these circumstances, no personal interests of Mr. Trump or disputed and unresolved

questions of executive privilege could possibly tilt the scales against disclosing these records to

the Select Committee.

       Accordingly, amici urge the Court to deny the request for a preliminary injunction so that

the Select Committee and Congress may access the critical information to which they are entitled

and which Congress needs to successfully exercise its legislative powers to protect our




                                                 4
          Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 12 of 32




constitutional democracy from future autocrats and demagogues who seek to exploit weaknesses

in the current legislative and constitutional framework—a framework that ensured the peaceful

transition from one President to the next for more than two centuries but which is now vulnerable.

                                            ARGUMENT

I.        THE SELECT COMMITTEE’S POWER TO INVESTIGATE THE JANUARY 6TH
          INSURRECTION ARISES FROM CONGRESS’S LEGISLATIVE AUTHORITY
          OVER, AMONG OTHER THINGS, FEDERAL ELECTIONS, TRANSITIONS OF
          PRESIDENTIAL POWER, FEDERAL PROPERTY, AND INSURRECTIONS.

          In the wake of the January 6th insurrection, the House of Representatives has

unequivocally expressed its intent to legislate in order to help protect the peaceful transfer of power

from future violence and interference. H.R. Res. 503, 117th Cong. (2021). To further that

legislative purpose, the House has delegated its investigatory powers in service of such legislation

to the Select Committee. Id. The Resolution creating the Select Committee tasks it with

undertaking a sweeping investigation into the “facts, circumstances, and causes” relating to the

January 6th attack so that it may issue a report recommending changes in law to better protect the

peaceful transition of power.6 The Resolution expressly empowers the Select Committee to issue

subpoenas to gather all necessary information to meet that mandate.7

          Amici believe that such an investigation is critical for Congress to be able to “legislate

wisely [and] effectively” in order to preserve, protect, and defend our institutions and the peaceful

transition of power. McGrain v. Daugherty, 273 U.S. 135, 175 (1927). In the weeks and months

leading up to the January 6th insurrection, those who were determined to end our national heritage

of the peaceful transfer of presidential power pursued many novel, even unthinkable tactics in

designing their attacks on our democracy. Their efforts, which the Select Committee is still


6
    H.R. Res. 503 §§ 3(1), 4, 117th Cong. (2021).
7
    Id. § 5(c)(4)–(6), (7); H.R. Rule XI(2)(m).

                                                    5
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 13 of 32




uncovering through its subpoenas for testimony and documents, point to multiple heretofore

unimagined threats—threats that should be addressed by legislation utilizing all of Congress’s

applicable powers. A full and complete investigation into the historically unprecedented assault

on the peaceful transfer of power is required so as to ensure that any legislative solution is

responsive and proportional to the full breadth of threats our democracy presently faces.

        Congress has the unequivocal power to enact legislation on these issues, the House of

Representatives has the unequivocal power to task a Select Committee with investigating the

January 6th insurrection, and both of these powers have been properly channeled into the document

requests at issue in this lawsuit.

        A.      Congress Has Broad Constitutional Powers To Pass Legislation To Ensure the
                Peaceful and Lawful Transfer of Presidential Power.

        The Framers of the United States Constitution granted Congress broad powers to protect

the peaceful transfer of presidential power based on free and fair elections. And subsequent

constitutional amendments have even further expanded those powers. As a result, the Select

Committee’s investigation into the January 6th Insurrection “concern[s]” multiple “subject[s] on

which legislation [may] be had.” Mazars, 140 S. Ct. at 2031 (internal quotation marks omitted).

Consider, for example, Congress’s powers under the following constitutional clauses.

        The Electors Clause and the Twelfth Amendment.             The Electors Clause directly

empowers Congress to “determine the Time of ch[oo]sing the Electors, and the Day on which they

shall give their Votes.” U.S. Const. art. II, § 1, cl. 4. The Twelfth Amendment empowers Congress

to count the certificates of elections submitted by the Electoral College. U.S. Const. amend. XII.

        The Appointments Clause. The Appointments Clause of the Constitution grants Congress

the power to “by Law vest the Appointment of such inferior Officers, as they think proper, in the




                                                6
         Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 14 of 32




President alone, in the Courts of Law, or in the Heads of Departments.” U.S. Const. art. II, § 2,

cl. 2.

         The Property Clause. The Property Clause of the Constitution empowers Congress to

“make all needful Rules and Regulations respecting . . . Property belonging to the United States.”

U.S. Const. art. IV, § 3.

         The Fourteenth Amendment Enforcement Power.                Section 5 of the Fourteenth

Amendment grants “Congress . . . the power to enforce, by appropriate legislation, the provisions”

of the Fourteenth Amendment.          One of those provisions—Section 3 of the Fourteenth

Amendment—makes it illegal for anyone who had “taken an oath . . . to support the Constitution

of the United States” as a “a member of Congress,” “an officer of the United States,” “a member

of any State legislature,” or “an executive or judicial officer of any State” from ever again serving

as a “Senator or Representative in Congress,” serving as an “elector of President and Vice-

President,” or holding “any office, civil or military, under the United States, or under any State,”

if they “engaged in insurrection or rebellion against the” Constitution of the United States, or had

“given aid or comfort to the enemies thereof.” U.S. Const. amend. XIV, § 3. Accordingly, the

Fourteenth Amendment grants Congress the legislative power—particularly, after it believes an

insurrection has occurred—to pass legislation setting out a process for enforcing the Amendment’s

provisions in court. See, e.g., Act of May 31, 1870, ch. 114, §§ 14–15, 16 Stat. 140, 143–44

(creating a “duty” for U.S. Attorneys to bring quo warranto actions against individuals holding

office in violation of Section 3 of the Fourteenth Amendment that “take precedence of all other




                                                 7
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 15 of 32




cases on the docket of the court to which it is made returnable,” and creating a misdemeanor

penalty for holding office in violation of the Amendment).8

       The Necessary and Proper Clause. The Necessary and Proper Clause grants Congress

broad authority to pass laws that are “necessary and proper for carrying into Execution” either

(i) Congress’s legislative powers or (ii) “all other Powers vested by this Constitution in the

Government of the United States, or in any Department or Officer thereof.” U.S. Const. art. I, § 8,

cl. 18. The Clause grants Congress the authority to regulate presidential elections to prevent

interference with the federal elections process, as well as to protect the people and processes of the

federal government, including from armed assault and burglary. See, e.g., Ex parte Yarbrough

(The Ku-Klux Cases), 110 U.S. 651, 658–59 (1884) (noting that it is beyond question that Congress

may pass laws regulating the burglary of federal entities); Burroughs v. United States, 290 U.S.

534, 547–48 (1934) (noting Congress’s powers to prevent violence and corruption in presidential

elections); U.S. Const. art. IV, § 3 (empowering Congress to “make all needful Rules and

Regulations respecting . . . Property belonging to the United States”).9




8
  Congress’s powers under Section 3 of the 14th Amendment also give rise to an investigative
power necessary to determine whether sitting Members of Congress are serving in violation of that
constitutional prohibition and to make the case for their expulsion, which it is empowered to effect
by Article I, Section 5 of the Constitution. Recent reporting identifying seven members of
Congress involved in orchestrating the attacks makes these powers and their relevance to the Select
Committee’s work salient. See Hunter Walker, Jan. 6 Protest Organizers Say They Participated
in “Dozens” of Planning Meetings With Members of Congress and White House Staff, Rolling
Stone, Oct. 25, 2021, https://www.rollingstone.com/politics/politics-news/exclusive-jan-6-
organizers-met-congress-white-house-1245289/.
9
  See also United States v. Harriss, 347 U.S. 612, 625 (1954) (recognizing Congress’s power to
legislate for “self-protection”); U.S. Civil Serv. Comm’n v. Nat’l Ass’n of Letter Carriers, AFL-
CIO, 413 U.S. 548, 564–65 (1973) (recognizing Congress’s power to ensure that “employees in
the Executive Branch of the Government, or those working for any of its agencies . . . administer
the law in accordance with the will of Congress, rather than in accordance with their own or the
will of a political party”).

                                                  8
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 16 of 32




       Exercising these and other powers, Congress has long legislated to ensure the peaceful

transition of presidential power. That includes, but certainly is not limited to, setting the dates for

the election and tallying and certification of electoral college votes, 3 U.S.C. §§ 1, 7, 15; requiring

the General Services Administration to name the winner of the election, and providing the

designated winner with funds and access to facilitate a smooth transition, 3 U.S.C. § 102 note

(1989); limiting the President’s ability to use acting officials to subvert the transition, see 5 U.S.C.

§§ 3345–3349d; prohibiting officials overseeing the transition from engaging in pernicious

political activities, see 5 U.S.C. §§ 7321–26; criminalizing any intimidation or other attempts to

improperly influence officials who oversee and execute presidential transitions, as well as

criminalizing the destruction of government property, see 18 U.S.C. §§ 111, 115, 1361; protecting

whistleblowers who flag efforts to subvert the transition of power, see, e.g., 5 U.S.C. § 2302;

prohibiting the President and others from bribing state electors, see 18 U.S.C. § 201; providing for

the Capitol police and Secret Service, which protect the Capitol complex, legislators, the President,

and the President-elect during transitions, see 2 U.S.C. §§ 1901–82; 18 U.S.C. §§ 3056–3056A;

empowering the President to quell (but not to incite) an insurrection disrupting the transfer of

power, see 10 U.S.C. §§ 251–54; and limiting the President’s ability to deploy the military to

subvert the transfer of power, see, e.g., 18 U.S.C. § 1385.

       In response to what is known so far about the January 6th attack and broader efforts to

undermine the transition of presidential power, Congress is already working to shore up these and

other laws to better protect the peaceful transition of power. Members of Congress are actively

drafting legislation to reform the Electoral Count Act,10 drawing on information that has already



10
  Sara Swann, Reforming One Law Could Prevent Another Election Insurrection, Experts Say,
The Fulcrum, Aug. 31, 2021, https://thefulcrum.us/electoral-count-act-reform.


                                                   9
          Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 17 of 32




been made public about efforts by Mr. Trump and his consiglieres to subvert the statutory and

constitutional processes for Electoral College certificate counting in 2020.11 Congress is also

actively considering legislation12 to reform the President’s statutorily-created powers to fill

temporarily vacant offices after Mr. Trump abused those authorities to interfere with the peaceful

transfer of power.13 Unsurprisingly, Congress also has proposed a new measure to enforce the

Fourteenth Amendment against insurrectionists, see, e.g., H.R. 1405, 117th Cong. (2021), a

legislative task necessarily linked to (and furthered by) the Select Committee’s investigation.

         But Congress cannot protect against weaknesses it does not know about. That is why it is

critical that Congress be granted access to all of the information necessary to reveal all of the ways

in which Mr. Trump, his aides, and his allies considered, attempted, and, in some respects,

succeeded in subverting the lawful, peaceful transition of presidential power.

         B.     Congress Has A Compelling Need to Engage In A Thorough and Complete
                Investigation of Mr. Trump’s Attempts To Interfere With the Peaceful
                Transfer of Power So That It Can Exercise Its Legislative Powers.

         Given that Congress has broad constitutional authority to pass laws to ensure the peaceful

transfer of power, the Select Committee’s investigation into the January 6th insurrection’s violent

interference with the peaceful transfer of power has a “valid legislative purpose” because it


11
  Memorandum from John Eastman (2021), available at https://cdn.cnn.com/cnn/2021/images/
09/20/eastman.memo.pdf.
12
     H.R. 5314 §§ 901–02, 117th Cong. (2021).
13
   See Alex Leary, Pence Reject Calls to Overturn Results, Wall St. J., Jan. 6, 2021,
https://www.wsj.com/livecoverage/biden-trump-electoral-college-certification-congress/card/
EYHe5tUFNJJN4SbVQGuB?mod=e2tw; Warren P. Strobel & Nancy A. Youssef, White House
National Security Council Aide Is Named to Top Pentagon Post, Wall St. J., Nov. 10, 2020,
https://www.wsj.com/articles/white-house-national-security-council-aide-is-named-to-top-
pentagon-post-11605037916; Nicholas Reimann, Trump Reportedly Asked Advisors About
Deploying Military To Overturn Election, Forbes, Dec. 19, 2020, https://www.forbes.com/sites/
nicholasreimann/2020/12/19/trump-reportedly-asked-advisors-about-deploying-military-to-
overturn-election/.


                                                 10
          Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 18 of 32




concerns “a subject on which legislation could be had.” Mazars, 140 S. Ct. at 2031 (internal

quotation marks omitted). So the key question here is not whether the Select Committee is acting

pursuant to a valid legislative purpose (it is) or what its supposed motive is in issuing any particular

request (which is irrelevant),14 but rather whether Congress has demonstrated a sufficient need to

access the files it seeks here.

          It has. In fact, Congress has demonstrated this need even if the Court concludes (a) that

Mr. Trump can assert armchair executive privilege from his home in Florida, notwithstanding the

actual President’s determination that “an assertion of executive privilege is not in the best interest

of the United States, and therefore is not justified as to any of the[se] [d]ocuments”15 and the many

subject matter defects in Mr. Trump’s privilege claims16; and (b) that the heightened standard for

congressional need for a sitting President’s documents that the courts used in U.S. v. Nixon and

Senate Select Committee v. Nixon apply. Even then, a full investigation into Mr. Trump’s

multifaceted attempts to interfere with the peaceful and lawful transfer of power is so

“demonstrably critical to the responsible fulfillment of the Committee’s functions,” Senate Select

Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 731 (D.C. Cir. 1974) (en

banc), that the Committee has a sufficient “demonstrated, specific need,” United States v. Nixon,

418 U.S. 683, 713 (1974), to overcome any judicially-credited assertion of executive privilege by

the former President. The Court need not parse each and every document to decide whether the



14
  When a Committee acts pursuant to a valid legislative purpose, its motives do not vitiate the
validity of its requests. See Watkins v. United States, 354 U.S. 178, 200 (1957) (“[M]otives alone
would not vitiate an investigation which had been instituted by a House of Congress if that
assembly’s legislative purpose is being served.”).
15
   Letter from Dana Remus, Counsel to the President, to David Ferriero, Archivist of the United
States (Oct. 8, 2021), https://www.archives.gov/files/foia/pdf/remus-letter-to-ferriero-re-first-
january-6-notification.10.08.2021.pdf.
16
     See infra, note 25 and accompanying text.

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        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 19 of 32




privilege applies, however, because the events of January 6th, and Mr. Trump’s conduct in

particular, urgently and unquestionably—specifically, demonstrably, and critically—demand

legislative action.

        In the weeks leading up to January 6th, Mr. Trump’s loyalists, lawyers, and campaign

officials gathered at the Willard Hotel in Washington, D.C., in a “command center” where they

worked “day and night” to identify “any possible constitutional loophole” that would allow them

to “overturn[] the results of the 2020 election.”17      This was unprecedented, and from the

perspective of amici, who once sat where Members of the Select Committee do now, previously

unimaginable. On January 6th, most of the command center faithful joined their failed candidate

Trump at the White House Ellipse for the “Stop the Steal” rally that subsequently transformed into

the insurrectionist mob. Mr. Trump and his allies in the command center—including some on

White House payroll, some within the Department of Justice, and a cast of other Trump supporters

from Mike Lindell, CEO of MyPillow, Inc., to far right activist Ali Alexander, the Oath Keepers,

and thousands of Americans radicalized and organized on social media18—plotted, inspired, and

carried out an election subversion campaign that led to the deaths of several people, put at risk the

lives of “anyone [the mob] got their hands on,” including the Speaker of the House and the Vice

President,19 and terrorized Members of Congress, their staffs, and the law enforcement summoned



17
   Jacqueline Alemany et al., Ahead of Jan. 6, Willard Hotel in Downtown D.C. Was Trump Team
“Command Center” for Effort to Deny Biden the Presidency, Wash. Post, Oct. 23, 2021,
https://www.washingtonpost.com/investigations/willard-trump-eastman-giuliani-bannon/2021/
10/23/c45bd2d4-3281-11ec-9241-aad8e48f01ff_story.html.
18
   See Ryan Mac & Sheera Frenkel, Internal Alarm, Public Shrugs: Facebook’s Employees Dissect
Its Election Role, N.Y. Times, Oct. 22, 2021, https://www.nytimes.com/2021/10/22/technology/
facebook-election-misinformation.html.
19
  Michael Biesecker et al., Capitol Rioters Included Highly Trained Ex-Military and Cops,
Associated Press, Jan. 15, 2021, https://apnews.com/article/ex-military-cops-us-capitol-riot-
a1cb17201dfddc98291edead5badc257.

                                                 12
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 20 of 32




to protect them.    And they came harrowingly close to preventing the peaceful transfer of

presidential power for the first time in American history.

       Unlike familiar modes of corruption, such as improper lobbying, where Congress well

understands the ways and means deployed, Congress has never confronted anything like what

happened on January 6th. Mr. Trump’s efforts to exploit the weak points in our political and

constitutional systems were novel. There are no other historical comparators or case studies to

which the Select Committee can look in formulating recommendations to the House for designing

legislation to safeguard the peaceful transfer of power and for ensuring that any proposed

legislation adequately responds to the full spectrum of threats our democracy now faces.

       Who, before last winter, would have imagined that a failed presidential candidate would

use wild conspiracy theories to stoke an extremist mob, urge it to assemble in Washington, D.C.,

and then point the mob towards the Capitol? Who, before last winter, would have expected the

President’s lawyer to call for “trial by combat” before such a mob? Who, before last winter, would

have imagined a failed presidential candidate calling the chief elections official of a state that he

lost (after his loss had been confirmed by two statewide recounts) to demand that the state official

“find” one more vote than needed for the failed candidate to win the state? Who, before last winter,

would have imagined that the Administrator for the General Services Administration would delay

naming a President-elect, long after the result of the election was clear, due to the brazen sabotage

efforts of the losing President? Who, before last winter, would have imagined the President

contemplating conspiring with the acting head of the Civil Division of the U.S. Department of

Justice to try to pressure the Acting Attorney General to send demonstrably false letters to state

legislatures in an attempt to leverage a lie to prompt the creation of competing slates of state

electors? Who, before last winter, would have imagined the President bullying the Vice President




                                                 13
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 21 of 32




to unlawfully disregard the “regularly given” electoral votes from particular states, see 3 U.S.C.

§ 15, before gleefully watching on television as a mob he assembled and incited threatened the

Vice President’s life after he refused to break the law and ignore his oath of office?

        All these questions lead to this one: given all the unexpected, unfamiliar, and unpredictable

actions that we now know Mr. Trump took last winter in his attempt to cling to power, why would

we think that every strategy he and his supporters tried or considered is already a matter of public

knowledge? And how can Congress be expected to design adequate legislative safeguards to meet

an unfamiliar future threat if it is kept partially in the dark about what the people posing that threat

last time were trying to do?

        The documents the Select Committee seeks are necessary to ensure that any legislative

solution is properly crafted and sufficiently ambitious to respond to previously unimaginable

threats to the peaceful transition of power. For example:

           The Select Committee requests “[a]ll documents and communications relating in any
            way to remarks made by Donald Trump or any other persons on January 6,” “all
            documents and communications related to efforts, plans, or proposals to contest the
            2020 Presidential election results,” and “all documents and communications related to
            plans, efforts, or discussions regarding the electoral count (including plans, efforts, or
            discussions regarding delaying or impeding the electoral count).” Decl. of Jesse R.
            Binnall Ex. 1 at 2, 5 (Oct. 19, 2021), ECF No. 5-2. The Select Committee plainly
            requires those records to learn all of the potential unlawful avenues to overturn the
            election that Mr. Trump and his allies at the “command center” and elsewhere
            considered, and whether and to what extent Congress needs to amend campaign
            finance, political corruption, and election administration laws to prevent the methods
            deployed (or considered and discarded) from being successful in future elections.

           The Select Committee requests “all documents and communications referring or
            relating to the 2020 election results between White House officials and officials of State
            Governments” from November 3, 2020, through January 20, 2021. Id. at 5. The
            Committee requires those records to learn the extent and means by which Mr. Trump
            and his aides improperly pressured state electors into refusing to certify or decertifying
            the election results, and whether and to what extent Congress should update federal
            prohibitions on bribery and pernicious political activity as a result.

           The Select Committee seeks “[a]ll documents and communications relating to
            allegations of election fraud or to challenging, overturning, or questioning the validity

                                                  14
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 22 of 32




           of the 2020 Presidential election, and involving personnel of the Department of Justice,
           including any one or more of the following individuals: Jeffrey Rosen, Richard
           Donoghue, Steven Engel, Jeffrey Wall, Patrick Hovakimian, Byung J. ‘BJay’ Pak,
           Bobby Christine, or Jeffrey Clark.” Id. at 6. The Committee needs those records to
           understand which statutory and regulatory frameworks led some officials at DOJ, such
           as Acting Attorney General Jeffrey Rosen, to refuse to go along with Mr. Trump’s most
           egregious election subversion ideas,20 while others, like Acting Assistant Attorney
           Jeffrey Clark were so pliable,21 as well as to understand how an obscure acting official
           like Jeffrey Clark came to wield so much sway within the White House. Those records
           are critical to making an informed judgment about whether and to what extent Congress
           needs to strengthen laws governing the appointment of federal officers, federal
           vacancies, the politicization of law enforcement, and the civil service in order to better
           promote fidelity to the oath of office and rule of law and prevent corruption.

          The Select Committee requests “[a]ll documents and communications relating to
           planned protests, marches, public assemblies, rallies, or speeches in Washington, D.C.,
           on November 14, 2020, December 12, 2020, January 5, 2021, and January 6, 2021.”
           Id. at 7. The Committee requires those records to learn whether and the extent to which
           Mr. Trump mobilized his supporters for the purpose of unlawfully disrupting the
           peaceful transition of power, and whether and how Congress could prevent the online
           mobilization of a failed candidate’s supporters to violence while being protective of
           First Amendment rights.

          The Select Committee requests “all documents and communications relating to
           challenging the validity of the 2020 election, to, from, or mentioning Mike Lindell”
           from April 1, 2020, through January 20, 2021. Id. at 9. The Select Committee requires
           those records to understand, among other things, the significance of reports that the
           CEO of a pillow company entered the White House on January 15, 2021, with notes
           urging the President to declare martial law and appoint Trump loyalist Kash Patel as
           Acting CIA Director,22 and whether and to what extent Congress must take action to
           address our government’s vulnerability to improper influence.

          The Select Committee requests “[a]ll documents and communications related to the
           January 3, 2021, letter from 10 former Defense Secretaries warning of use of the

20
   See Ann E. Marimow & Josh Dawsey, What Rosen Told U.S. Senators: Trump Applied
“Persistent” Pressure to Get Justice to Discredit Election, Wash. Post, Aug. 12, 2021,
https://www.washingtonpost.com/national-security/rosen-senate-judiciary-testimony-
trump/2021/08/12/4b500618-fabd-11eb-8a67-f14cd1d28e47_story.html.
21
   Katie Benner & Charlie Savage, Jeffrey Clark Was Considered Unassuming. Then He Plotted
With Trump, N.Y. Times, Jan. 24, 2021, https://www.nytimes.com/2021/01/24/us/politics/jeffrey-
clark-trump-election.html.
22
   E.g., Philip Bump, A Pillow Salesman Apparently Has Some Ideas About Declaring Martial
Law, Wash. Post, Jan. 15, 2021, https://www.washingtonpost.com/politics/2021/01/15/pillow-
salesman-apparently-has-some-ideas-about-declaring-martial-law/.


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        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 23 of 32




           military in election disputes.” Id. at 12. In that unprecedented op-ed, all former living
           Secretaries of Defense called for a peaceful transition of power and reiterated that there
           is no role for the military in election disputes.23 The Committee needs the records it
           seeks to learn whether Mr. Trump and his aides considered deploying the military, and
           whether and to what extent Congress must strengthen the restrictions on the President’s
           power to deploy the military.

       The conduct that the Select Committee is working to address is without precedent in

American history. The bad behavior at issue in the Watergate investigation—a bungled burglary,

its cover-up, and the President’s strong-arming of federal officials to do his bidding—is almost

quaint as compared to the months-long, miles-wide, thousands-strong and, from a conventional

perspective, often baffling effort to overturn the 2020 election. Thus, while the D.C. Circuit of

course denied the Senate Select Committee on Presidential Campaign Activities’ request for the

Watergate tapes related to unlawful campaign activity, January 6th was different in kind from the

situation in Senate Select Committee. In that case, the Senate Select Committee sought access to

the Watergate tapes already in the possession of the House Committee on the Judiciary, and there

was “no indication” that the House Committee’s inquiry into the very same materials was “so

likely to be inconclusive or long in coming” that the Senate Select Committee “need[ed] immediate

access of its own,” id. at 733.     Here, there is no guarantee that, absent the House Select

Committee’s investigation, Mr. Trump’s full efforts to imperil the peaceful transition of power

will be known to Congress as it shapes a legislative correction.24 The breadth of the Select


23
   Ashton Carter et al., Opinion, All 10 Living Former Defense Secretaries: Involving the Military
in Election Disputes Would Cross into Dangerous Territory, Wash. Post, Jan. 3, 2021,
https://www.washingtonpost.com/opinions/10-former-defense-secretaries-military-peaceful-
transfer-of-power/2021/01/03/2a23d52e-4c4d-11eb-a9f4-0e668b9772ba_story.html.
24
   See, e.g., Majority Staff of S. Comm. on the Judiciary, 117th Cong., Rep. on Subverting Justice:
How the Former President and His Allies Pressured DOJ to Overturn the 2020 Election, at 43, 48
(2021) (noting that various aspects of Mr. Trump’s efforts to prevent the transition of power were
beyond the scope of that Senate Judiciary Committee’s purview and recommending that those
issues be investigated by the Select Committee), available at https://www.judiciary.senate.gov/
imo/media/doc/Interim%20Staff%20Report%20FINAL.pdf.


                                                16
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 24 of 32




Committee’s power to obtain the information it seeks in this case must be commensurate with the

unfamiliarity of the problem at hand and the extreme danger of not addressing it legislatively.

Should a President ever succeed in untethering themself from the results of a valid election and

again prompt an attack on the Capitol, dozens of Senators and Representatives may well lay dead,

and our democracy might never recover.

       In sum, Congress has broad legislative powers to protect the peaceful transfer of power and

a demonstrated, specific need to gather the information necessary to identify gaps in the guardrails

of our democracy and tailor legislation to current and future threats to the peaceful transfer of

power. This means that Congress’s interests are sufficient to require access to the information it

seeks even if the Court were to entertain Mr. Trump’s armchair executive privilege assertion and

apply a heightened standard for access—crediting Mr. Trump’s complaint from Florida over the

determination by President Biden, the current holder of the relevant privilege—because

Congress’s access to the information is in the public interest. The risks associated with denying

Congress this access far outweigh any insult to the personal interests Mr. Trump may have in these

records or any harm to the interests of the Office of the President that the former President gleans

but the current holder of the office, chosen by the American people over Mr. Trump, disavows.

II.    THE CLEAR NEED FOR, AND PUBLIC INTEREST IN, THE SELECT
       COMMITTEE’S ACCESS TO THE MATERIALS IT SEEKS IS
       DETERMINATIVE OF THE PRESENT MOTION.

       Executive privilege is a qualified privilege, and no litigant has a right to a preliminary

injunction. See United States v. Nixon, 418 U.S. 683, 706 (1974); Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008). Moreover, Donald Trump cannot gain the benefit of either when it

would run contrary to the public interest.

       That means the clear and overwhelming need for (and public interest in) Congress having

documents to further its legitimate legislative purpose is fatal to Mr. Trump’s motion, even without

                                                17
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 25 of 32




considering some of the unsettled questions of constitutional law lurking at the margins of this

dispute. The clock is ticking, not only on the Archivist’s regulatory deadline for releasing the

records, but also on the Select Committee’s ability to conduct its investigation, digest the results,

and recommend legislative safeguards that Congress can debate and enact before our next federal

election. When such overwhelming congressional and public interest rests on one side of the

balance, Mr. Trump’s personal interests and the supposed executive interests he raises—and that

the current occupant of the Office of the President disclaims—simply do not have sufficient weight

to deny or delay Congress’s access to these records.

       What is more, the law is settled that a former President may potentially assert executive

privilege only as to “communications in performance of [a President’s] responsibilities, of his

office, and made in the process of shaping policies and making decisions.” Nixon v. Adm’r of Gen.

Servs. (“GSA”), 433 U.S. 425, 449 (1977) (citations and internal quotation marks omitted). And

even when each of these requirements is satisfied, claims of executive privilege by a former

President receive less weight when disavowed by the sitting President, who “is vitally concerned

with and in the best position to assess the present and future needs of the Executive Branch.” Id.

       Mr. Trump has not alleged that the documents requested by the Select Committee satisfy

the requirements set forth in GSA, and any such allegation would be implausible because the Select

Committee’s requests narrowly target documents related to a plot by Mr. Trump, openly pursued

in his personal capacity,25 to overturn the results of a presidential election he lost. Rooted in



25
   In particular, many of Mr. Trump’s actions up to and on January 6th were taken in his capacity
as a losing presidential candidate and not his capacity as President. That’s because the Constitution
intentionally denies the President any official responsibility for the process of counting electoral
votes. The Constitution states that the selection of electors shall be determined by “[e]ach State.”
U.S. Const. art. II, § 1, cl. 2. The electors then “meet in their respective states and vote by ballot
for President and Vice-President.” U.S. Const. amend. XII. Then the votes that are cast and
certified by the Electors will be counted by the President of the Senate in the presence of the Senate

                                                 18
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 26 of 32




separation of powers, executive privilege exists to enable “the operation of Government.” Nixon,

418 U.S. at 708; Mazars, 140 S. Ct. at 2032 (same). It accordingly yields when its application

would undermine, rather than serve, the operation of government. Nixon, 418 U.S. at 708–

13. And as Senate Minority Leader McConnell explained, the efforts to overturn the election were

not the official acts of a President; they were “a disgraceful dereliction of duty.”26 The executive

privilege does not apply, thus ending the inquiry and dooming Mr. Trump’s motion.

       Even if Mr. Trump had properly invoked the thin sliver of executive privilege arguably

afforded to him under GSA, which he has not, it would seem obvious that executive privilege must

yield where a President attacks the peaceful transfer of presidential power through avenues known

and some yet unknown and then attempts to invoke the privilege to prevent Congress from learning

the full scope of those efforts and thus taking adequate corrective measures. See Nixon, 418 U.S.

at 713; Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 731

(D.C. Cir. 1974) (en banc). More to the point, the records at issue are the only source that will

reveal the full scope of Mr. Trump’s efforts to undermine the election and lawful transition of

power; the Select Committee’s requests are specific and cabined to records related to its mandate;

the Select Committee’s legislative ends are clear from the resolution creating the Committee (the




and House of Representatives. Id. Neither the sitting President—nor any of his appointees—has
any role in determining the outcome. Nor does the Electoral Count Act, the statute that governs
the electoral count process, prescribe a role. 3 U.S.C. §§ 1–18. Indeed, the Framers were so
committed to excluding the sitting President that they even “excluded from eligibility to [the
electoral college], all those who from situation might be suspected of too great devotion to the
President in office.” The Federalist No. 68 (Alexander Hamilton). Accordingly, “No senator,
representative, or other person holding a place of trust or profit under the United States, can be of
the numbers of the electors.” Id.; see also U.S. Const. art. II, § 1, cl. 2.
26
   Press Release, McConnell on Impeachment: “Disgraceful Dereliction” Cannot Lead Senate to
“Defy Our Own Constitutional Guardrails,” (Feb. 13, 2021), https://www.republicanleader.
senate.gov/newsroom/remarks/mcconnell-on-impeachment-disgraceful-dereliction-cannot-lead-
senate-to-defy-our-own-constitutional-guardrails.

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        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 27 of 32




proportionality of which must be viewed in light of the unfamiliarity and potential danger of the

problem at hand), see H.R. Res. 503 § 4(c), 117th Cong. (2021); and there is no significant burden

on the legitimate operations of the Presidency, as evidenced by President Biden’s decision not to

invoke executive privilege. Cf. Mazars, 140 S. Ct. at 2035–36.

                                        CONCLUSION

       For the reasons above and those laid out in the brief for the Select Committee, amici

respectfully urge the Court to deny Donald Trump’s motion for a preliminary injunction and permit

the Select Committee to move forward with its vital work.




                                               20
      Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 28 of 32




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                                    21
    Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 29 of 32




                    APPENDIX A—LIST OF AMICI CURIAE

   Alan Steelman, U.S. Representative (D-Texas), 1973-1977
   Allyson Y. Schwartz, U.S. Representative (D-Pennsylvania), 2005-2015
   Barney Frank, U.S. Representative (D-Massachusetts), 1981-2013; Chairman of the House
    Financial Services Committee, 2008-2011
   Bart Stupak, U.S. Representative (D-Michigan), 1993-2011
   Bob Inglis, U.S. Representative (R-South Carolina), 1993-1999, 2005-2011
   Brad Miller, U.S. Representative (D-North Carolina), 2003-2013
   Brian Baird, U.S. Representative (D-Washington), 1999-2011
   Bruce Braley, U.S. Representative (D-Iowa), 2007-2015
   Byron Dorgan, U.S. Representative (D-North Dakota), 1992-2011
   Carlos Curbelo, U.S. Representative (R-Florida), 2015-2019
   Charles Boustany, U.S. Representative (R-Louisiana), 2005-2017
   Chris Shays, U.S. Representative (R-Connecticut), 1987-2009
   Claudine Schneider, U.S. Representative (R-Rhode Island), 1981-1991
   Colleen Hanabusa, U.S. Representative (D-Hawaii), 2011-2015, 2016-2019
   Connie Morella, U.S. Representative (R-Maryland), 1987-2003; U.S. Ambassador to the
    Organization for Economic Co-operation and Development, 2003-2007
   Dave Durenberger, U.S. Senator (R-Minnesota), 1978-1995
   David Emery, U.S. Representative (R-Maine), 1975-1983; House Republican Chief
    Deputy Whip, 1981-1983
   David Skaggs, U.S. Representative (D-Colorado), 1981-1987; Chair of the Board of
    Directors of the U.S. Office of Congressional Ethics, 2019-present
   David Wu, U.S. Representative (D-Oregon), 1999-2011
   Deborah Halvorson, U.S. Representative (D-Illinois), 2009-2011
   Doug Bereuter, U.S. Representative (R-Nebraska), 1979-2004
   Earl Pomeroy, U.S. Representative (D-North Dakota), 1993-2011
   Ed Weber, U.S. Representative (R-Ohio), 1981-1983
   Elizabeth Holtzman, U.S. Representative (D-New York), 1973-1981
   Gary Ackerman, U.S. Representative (D-New York), 1983-2013
   Gary Hart, U.S. Senator (D-Colorado), 1975-1987; Vice Chair of the Homeland Security
    Advisory Council, 2009-2011
   Henry A. Waxman, U.S. Representative (D-California), 1975-2015; Chair of Energy &
    Commerce Committee, 2009-2010; Chair of Committee on Oversight & Government
    Reform, 2007-2008
   Howard Berman, U.S. Representative (D-California), 1983-2013
   James Bacchus, U.S. Representative (D-Florida), 1991-1995
   James McDermott, U.S. Representative (D-Washington), 1989-2017


                                          1
    Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 30 of 32




   Jim Greenwood, U.S. Representative (R-Pennsylvania), 1993-2005
   Jim Kolbe, U.S. Representative (R-Arizona), 1985-2007
   Jim Leach, U.S. Representative (R-Iowa), 1977-2007; Chair of the House Banking and
    Financial Services Committee, 1995-2001
   Jim Turner, U.S. Representative (D-Texas), 1997-2005
   Jim Walsh, U.S. Representative (R-New York), 1989-2009
   Joe Crowley, U.S. Representative (D-New York), 1999-2019; Chair of the House
    Democratic Caucus, 2017-2019
   John Barrow, U.S. Representative (D-Georgia), 2005-2015
   John LeBoutillier, U.S. Representative (R-New York), 1981-1983
   Larry LaRocco, U.S. Representative (D-Idaho), 1991-1995
   Lois Capps, U.S. Representative (D-California), 1998-2017
   Martin Lancaster, U.S. Representative (D-North Carolina), 1987-1995; Assistant Secretary
    to the U.S. Army for Civil Works, 1996-1997
   Mary Jo Kilroy, U.S. Representative (D-Ohio), 2009-2011
   Matt McHugh, U.S. Representative (D-New York), 1975-1993
   Max Sandlin, U.S. Representative (D-Texas), 1997-2005
   Mel Levine, U.S. Representative (D-California), 1983-1993
   Mickey Edwards, U.S. Representative (R-Oklahoma), 1977-1993; Chair, House
    Republican Policy Committee, 1989-1993
   Mike Kopetski, U.S. Representative (D-Oregon), 1991-1995
   Mike Parker, U.S. Representative (D-Mississippi), 1989-1995; U.S. Representative (R-
    Mississippi), 1995-1999; Assistant Secretary for the Army of Civil Works, 2001-2002
   Paul Hodes, U.S. Representative (D-New Hampshire), 2007-2011
   Peter Smith, U.S. Representative (R-Vermont), 1989-1991
   Reid Ribble, U.S. Representative (R-Wisconsin), 2011-2017
   Richard Gephardt, U.S. Representative (D-Missouri), 1977-2005; Chair of the House
    Democratic Caucus, 1985-1989; House Majority Leader, 1989-1995; Leader of the House
    Democratic Caucus, 1995-2003
   Robert Carr, U.S. Representative (D-Michigan), 1975-1981
   Rod Chandler, U.S. Representative (R-Washington), 1983-1993
   Ron Klein, U.S. Representative (D-Florida), 2007-2011
   Russ Carnahan, U.S. Representative (D-Missouri), 2005-2013
   Steve Driehaus, U.S. Representative (D-Ohio), 2009-2011
   Steve Israel, U.S. Representative (D-New York), 2001-2017; Chair of the Democratic
    Congressional Campaign Committee, 2011-2015; Chair of the House Democratic Policy
    and Communications Committee, 2015-2017
   Steve Kagen, M.D., U.S. Representative (D-Wisconsin), 2007-2011
   Tim Petri, U.S. Representative (R-Wisconsin), 1979-2015


                                           2
    Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 31 of 32




   Tim Wirth, U.S. Representative (D-Colorado), 1975-1987; Counselor of the Department
    of State, 1993-1994; Under Secretary of State for Democracy and Global Affairs, 1994-
    1997
   Tom Andrews, U.S. Representative (D-Maine), 1991-1995
   Tom Coleman, U.S. Representative (R-Missouri), 1976-1993
   Tom Perriello, U.S. Representative (D-Virginia), 2009-2011
   Vic Fazio, U.S. Representative (D-California), 1979-1999; Chair of the House Democratic
    Caucus, 1995-1999
   Wayne T. Gilchrest, U.S. Representative (R-Maryland), 1991-2009




                                           3
        Case 1:21-cv-02769-TSC Document 25 Filed 10/29/21 Page 32 of 32




                               CERTIFICATE OF SERVICE

       I hereby certify that, on October 28, 2021, I served the foregoing document on all counsel

of record by filing it using this Court’s CM/ECF system.


                                            /s/ Owen Dunn
